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                                                                                            APR 16 2012
                                                                            CLERK, U.S. DISTRICT COURT
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      Attorneys for Plaintiff
      Travelers Casualty and Surety Company of America




                              IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF ALASKA

                                          ANCHORAGE DIVISION

      TRAVELERS CASUALTY AND SURETY
      COMPANY OF AMERICA, a Connecticut
      corporation,
                             Plaintiff,                 No.
             v.                                         COMPLAINT
     DATUM CONSTRUCTON
     MANAGEMENT, INC., an Idaho                         (Indemnity- 28 USC § 1332; Declaratory
     corporation, DATUM PROPERTIES, LLC,                Judgment- 28 U.S.C. §§ 2201-2202)
     an Idaho limited liability company, KEITH
     JONES, individually, and SHERRI M.
     JONES, individually,
                            Defendants.


             For its Complaint, plaintiffTravelers Casualty and Surety Company of America

     ("Travelers") alleges as follows:



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                                              JURISDICTION

              1.1     The amount in controversy, without interest and costs, exceeds the sum or value

      specified by 28 U.S.C. § 1332. There is complete diversity between the parties. There exists a

     justiciable controversy and Declaratory Judgment is permissible herein under 28 U.S.C. §§ 2201-

     2202.

                                                   VENUE

             2.1      Venue is proper in that the events or omissions giving rise to the claims

     asserted herein occurred in the District of Alaska.

                                                  PARTIES

             3.1      Plaintiff Travelers is a corporation incorporated under the laws of Connecticut

     and is authorized to conduct business and issue surety bonds in the state of Alaska. The

     defendant Datum Construction Management, Inc. ("Datum") is a corporation organized under

     the laws of Idaho and authorized to conduct business as a contractor in the state of Alaska.

     Defendant Datum Properties, LLC ("Datum Properties") is an Idaho limited liability company

     organized under the laws ofldaho. Defendant Keith Jones, individually, and Sherri M. Jones are

     residents of Idaho.

                                            CLAIMS FOR RELIEF

                                        FIRST CLAIM FOR RELIEF

                                                 (Indemnity)

             4.1      Travelers posted its Performance Bond No. 105499479 on or about May 4,


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      2011 in the penal sum of$7,376,145.00 ("Performance Bond") and its Payment Bond No.

      105499479 on or about May 4, 2011 in the penal sum of$7,376,145.00 ("Payment Bond")

      on behalf of Datum, as principal, payable unto The Kroger co. & Its Subsidiaries &

     Affiliates, also known as Fred Meyer Stores, Inc. ("Fred Meyer") as obligee for the project

     known as "Fred Meyer Store# 701-00485- Expansion 3755 Airport Way, Fairbanks, AK

     99709," (Project"). True and accurate copies of the Payment and Performance Bonds are

     attached hereto at Exhibit "A. "

             4.2     Fred Meyer made the unilateral determination that Datum was in Default

     under its Contract with Datum and terminated Datum for cause on October 25, 2011,

     thereafter demanding that Travelers complete the Project pursuant to the terms and

     obligations of the Performance Bond. Thereafter, on February 10, 2012, Fred Meyer and

     Travelers executed their Takeover Agreement under which, with a full reservation of rights

     and defenses- including without limitation, Fred Meyer's contractual or equitable right to

     terminate Datum and whether Travelers had or has at any material time the obligation to

     complete the Project under the Performance Bond, incur any fees, costs or expenses relating

     to or arising out of the completion of the Project or to pay any claims asserted against the

     Payment Bond- Travelers provided a completion contractor under a Standard Form of

     Completion Agreement, to complete the Project.

             4.3     Claims were asserted against the Performance Bond by the Obligee Fred

     Meyer and against the Payment Bond by Datum's subcontractors, laborers and materialmen.

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             As of the date of this Complaint, Travelers has set a reserve in the amount of $6,700,995.21

             and has, as of the date of this Complaint paid Payment Bond claims in the total amount of

             $2,013,000.37.

                     4.4     In partial consideration for posting the Bonds on behalf of Datum, defendants

             Datum, Datum Properties, Keith Jones and Sherri Jones, and each of them, provided a

             written General Indemnity Agreement ("GIA") whereby said Defendants agreed to

             collateralize, reimburse and/or indemnify Travelers from and against all losses, costs,

             charges, attorney fees and other expenses of whatever kind or nature that Travelers shall

             sustain or incur in consequence of posting the Bonds. Despite demand, Defendants and each

             of them, have failed, refused and neglected to indemnify Travelers, comply with their

             obligations under the GIA, or provide collateral of any kind . A true and accurate copy of

             the (redacted) GIA is attached hereto at Exhibit "B. "

                     4.5     Under the terms of the GIA, Travelers is entitled to collateral security

             sufficient to discharge any claim or demand made against Travelers on any bond, recover its

             reasonable attorney fees incurred, said sum or sums to be set by the court from time to time

             upon application by Travelers, a constructive trust on all property of the subject Defendants

             and is further entitled to the following remedies:

                     In the event of a Default, Indemnitors assign convey, and transfer to
                     [Travelers] all of their rights, title and interests in Property and [Travelers]
                     shall have a right in its sole discretion to: (a) take possession of the work
                     under any Contract and to complete said Contract, or cause, or consent to, the
                     completion thereof; (b) immediately take possession of Indemnitors' Property
                     and utilize the Property for the completion of the work under the Contracts
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                     without payment for such use; (c) assert or prosecute any right or claim in the
                     name of any Indemnitor and to settle any such right or claim as [Travelers]
                     sees fit; (d) execute in the name of any Indemnitor, any instruments deemed
                     necessary or desirable by [Travelers] to: (i) provide [Travelers] with title to
                     assets, (ii) take immediate possession of Contract funds whether earned or
                     unearned, (iii) collect such sums as may be due lndemnitors and to endorse in
                     the name of the lndemnitors, and (iv) collect on any negotiable instruments;
                     (e) require any Obligee to withhold payment of Contract funds unless and until
                     [Travelers] consents to its release; and/or (f) be subrogated to all the rights,
                     remedies, properties, funds, securities and receivables relating to lndemnitors'
                     Contracts or contracts and have the right to offset losses on any Contract or
                     Bond against proceeds, funds, or property due from another Contract, Bond or
                     contract. Further, in the event of Default and upon demand lndemnitors shall
                     direct that all payments, monies, and properties that are due or may become
                     due on any Contract or contract be made payable to, and/or sent directly to,
                     Company, and shall issue whatever writing or notices as deemed necessary by
                     [Travelers] to effectuate the default and/or termination of any Contract.
                     Exhibit "B, " GIA, § 6.

                     4.6     Under the terms of the GIA, Travelers is entitled to recover its reasonable

             attorney fees incurred, and said sum or sums shall be set by the court from time to time upon

             application by Travelers.

                     4.7     Travelers has performed all conditions precedent, conditions and obligations

             on its part to be performed, and has no plain, speedy or adequate remedy at law.

                     4.8     Travelers is entitled to judgment against Defendants and each of them, in the

             sum of$6,700,995.21, or such other sum as shall be set by the court or determined by

             settlement, together with interest thereon from the date that Travelers is required to pay said

             sum or tender said sum into the court until paid.




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                                              SECOND CLAIM FOR RELIEF

                                                (DECLARATORY RELIEF)

                       5.1     Travelers realleges the allegations contained in paragraphs 1.1 - 4.8, above.

                      5.2      The Obligee on the Bonds, Fred Meyer, has determined that Datum was in

               default under its Contract with Fred Meyer for the Project and terminated Datum for cause

               on October 25, 2011. Datum disputes Fred Meyers' conclusion that it was in default under

               the Contract and that the termination of the Contract was rightful. Fred Meyer, as herein

               alleged, demanded that Travelers complete the Contractual obligations of Datum. In

               conformance with its obligations under the Performance Bond, and with a complete

               reservation of all rights and defenses, Travelers commenced completion of the Contract, the

               ultimate cost of which remains to be determined. Additionally, although certain Payment

               Bond claims have been paid as of the date of this Complaint, other Payment Bond claims are

               either outstanding or unknown. The actual damages to be incurred by Travelers is thus

               unknown and incapable of calculation.

                      5.3     Datum and the other Defendants dispute their obligations under the GAl, to

               wit, their obligation to defend and indemnify Travelers, their obligation to reimburse

               Travelers for incurred actual loss, to provide sufficient collateral to discharge all claims,

               costs, fees and expensed to be incurred by Travelers, or to assign convey, and transfer to

               Travelers all of their rights, title and interests in any Property in which they or any of them

               have any interest.

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                       5.4     Travelers is entitled to the declaration of the Court as to the rights and

              obligations of the parties with respect to the GAl, that the Defendants herein have the

              immediate obligation to defend and indemnify Travelers, to reimburse Travelers for incurred

              actual loss, costs, expenses and fees, to provide sufficient collateral to discharge all claims,

              costs, fees and expenses incurred or to be incurred by Travelers, and to assign convey, and

              transfer to Travelers all of their rights, title and interests in any Property in which they or any

              of them have any interest.

                      5.5      Travelers has performed all conditions, and conditions precedent, on its part to

              be performed and has no adequate remedy at law. Money damages, alone, are inadequate to

             provide Travelers to which it is entitled under the GAL

                      WHEREFORE, Travelers prays for relief as follows:

              1.      ON ITS FIRST CLAIM FOR RELIEF:

                      A judgment in favor of Travelers and against Defendants, and each of them, in the

             sum of$6,700,995.21, together with interest thereon from the date said amount is paid until

             repaid, and imposing on said Defendants a constructive trust upon all assets, and requiring

             that said assets be delivered to Travelers to be sold and disbursed and the proceeds thereof

             applied to the obligations owed to Travelers and for Travelers' recovery from said

             defendants, Travelers' reasonable attorney fees, costs and disbursements.

             2.       ON ITS SECOND CLAIM FOR RELEIF:

                      The Declaration of the Court that Defendants, and each of them, are presently

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              obligated to fully comply with their obligations under the GAl, including the Defendants'

              immediate obligation to defend and indemnify Travelers, to reimburse Travelers for incurred

              actual loss, costs, expenses and fees, to provide sufficient collateral to discharge all claims,

              costs, fees and expenses incurred or to be incurred by Travelers, and to assign convey, and

             transfer to Travelers all of their rights, title and interests in any Property in which they or any

             of them have any interest.

             3.      For such other and further relief as the court deems equitable and just.


                         DATED this 11th day of April, 2012.
                                                                   H. LEE COOK LAW, LLC



                                                                   By
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                                                                        Of Attorneys for Plaintiff Travelers
                                                                        Casualty and Surety Company of
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                                         CERTIFICATE OF SERVICE
          I hereby certify that I served the foregoing COMPLAINT on behalf of TRAVELERS
      CASUALTY AND SURETY CO. OF AMERICA on:

      Mr. Arnold L. Wagner
      Meuleman Mollerup LLP
      755 W. Front Street, Suite 200
      Boise, ID 83 702
      Email: wagner@lawidaho.com

      by the following indicated method or methods:
      ____x__   by mailing a full, true and correct copy thereof in a sealed, first-class postage-paid
                envelope, and addressed to the attorney as shown above, the last-known office
                address of the attorney, and deposited with the United States Postal Service at
                Portland, Oregon on the date set forth below.
                by causing a full, true and correct copy thereof to be hand-delivered to the attorney
                at the attorney's last-known office address listed above on the date set forth below.
                by sending a full, true and correct copy thereof via overnight courier in a sealed,
                prepaid envelope, addressed to the attorney as shown above, the last-known office
                address of the attorney, on the date set forth below.
      _x_ by emailing a full, true and correct copy thereof to the attorney at the email address
          shown above, which is the last-known email address for the attorney's office, on the
          date set forth below.
                Dated this ll:h day of April, 2012.

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                                                      Attorney for Defendant Travelers Casualty and
                                                      Surety Co. of America




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